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CO-526
(12/86)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SEALED
UNITED STATES OF AMERICA

Criminal Case No. 19-07 (TSC)

FILED
FEB 01 2019

Clerk, U.S. District and
Bankruptcy Courts

VS.

MASOUD KHAN

WAIVER OF TRIAL BY JURY
With the consent of the United States Attorney and the approval of the

Court, the defendant waives his right to trial by jury.

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Defendant

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Counsel for deperdan dant

I consent: GL,

Assistant United Ste States Attorney

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Judge haya S. Chutkan

 

 

 
